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             7
               Attorneys for Defendant UNIVERSITY
             8 OF SAN DIEGO
             9
           10                      UNITED STATES DISTRICT COURT
           11                   SOUTHERN DISTRICT OF CALIFORNIA
           12
           13 TIFFANY DEHEN,                         Case No. 3:17-cv-00198-LAB-WVG
           14             Plaintiff,                 DEFENDANT UNIVERSITY OF
                                                     SAN DIEGO’S STATEMENT
           15       v.                               REGARDING COSTS
           16 JOHN DOE; TWITTER, INC.;               Judge:         Hon. Larry Alan Burns
              UNIVERSITY OF SAN DIEGO; and           Courtroom:     14A
           17 PERKINS COIE LLP,                      Mag. Judge:    Judge William V. Gallo
                                                     Courtroom:     Suite 2125
           18             Defendants.                Trial Date:    Not Set
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  PAUL, PLEVIN,
   SULLIVAN &
                                                                   Case No. 3:17-cv-00198-LAB-WVG
CONNAUGHTON LLP
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             1        On October 24, 2018, this Court issued an order holding that University of
             2 San Diego (“USD”) is a prevailing party in this action and that plaintiff Tiffany
             3 Dehen (“Plaintiff”) “has failed to show cause why [USD’s] costs should not be
             4 taxed against her.” Doc. No. 85 at 3. USD may submit a bill of costs by November
             5 9, 2018. Id.
             6        On November 6, 2018, the undersigned counsel for USD informed Plaintiff
             7 that it would not seek costs at this time. Notwithstanding, USD reserves its right to
             8 seek costs, fees, and all other appropriate relief in the event Dehen continues to
             9 pursue this action, including through any appeal or other further action concerning
           10 her dismissed claims against USD.
           11
           12 Dated: November 7, 2018              PAUL, PLEVIN, SULLIVAN &
                                                   CONNAUGHTON LLP
           13
           14
                                                   By:         /s/ Joanne Alnajjar Buser
           15
                                                         MICHAEL C. SULLIVAN
           16                                            JOANNE ALNAJJAR BUSER
                                                         AMR A. SHABAIK
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                                                         Attorneys for Defendant UNIVERSITY OF
           18                                            SAN DIEGO
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  PAUL, PLEVIN,
   SULLIVAN &                                             2                Case No. 3:17-cv-00198-LAB-WVG
CONNAUGHTON LLP
         Case 3:17-cv-00198-LAB-WVG Document 88 Filed 11/07/18 PageID.2475 Page 3 of 3




             1                               PROOF OF SERVICE
             2                            Dehen v. USD, Twitter, et al.
                  U.S.D.C., Southern District of California, Case No. 3:17-CV-00198-LAB-WVG
             3
                  STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
             4
                    At the time of service, I was over 18 years of age and not a party to this
            5 action. I am employed in the County of San Diego, State of California. My
              business address is 101 West Broadway, Ninth Floor, San Diego, CA 92101-8285.
            6
                    On November 7, 2018, I served true copies of the following document(s)
            7 described  as DEFENDANT UNIVERSITY OF SAN DIEGO’S STATEMENT
              REGARDING COSTS on the interested parties in this action as follows:
            8
                    Tiffany L. Dehen                         Julie E. Schwartz
            9       1804 Garnet Avenue, #239                 Perkins Coie LLP
                    Pacific Beach, CA 92109                  3150 Porter Drive
           10       Telephone: (858) 262-0052                Palo Alto, CA 94304
                    E-Mail:                                  Telephone: (650) 838-4490
           11       tiffany.dehen@gmail.com                  Facsimile: (650) 838-4690
                                                             E-Mail:
           12       Plaintiff Pro Per                        JSchwartz@perkinscoie.com
           13                                                Attorney for Twitter, Inc.
           14        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
              the document(s) with the Clerk of the Court by using the CM/ECF system.
           15 Participants in the case who are registered CM/ECF users will be served by the
              CM/ECF system. Participants in the case who are not registered CM/ECF users will
           16 be served by mail or by other means permitted by the court rules.
           17       BY MAIL: I enclosed the document(s) in a sealed envelope or package
              addressed to the persons at the addresses listed in the Service List, with postage
           18 thereon fully prepaid. I placed each such envelope or package for deposit with
              United States Postal Service, this same day, at my business address shown above,
           19 following ordinary business practices. On Tiffany Dehen Only.
           20       I declare under penalty of perjury under the laws of the United States of
              America that the foregoing is true and correct and that I am employed in the office
           21 of a member of the bar of this Court at whose direction the service was made.
           22          Executed on November 7, 2018, at San Diego, California.
           23
           24
           25                                            Amy R. Dickey
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  PAUL, PLEVIN,
   SULLIVAN &
                                                                         Case No. 3:17-cv-00198-LAB-WVG
CONNAUGHTON LLP
